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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                    District
                                              __________     of Columbia
                                                          District of __________


                COMMITTEE OF 100, INC.                         )
                             Plaintiff                         )
                                v.                             )      Case No.     1:22-cv-01792 (RC)
        U.S. DEPARTMENT OF JUSTICE, et. al.                    )
                                 ndant                         )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff, Committee of 100, Inc.                                                                            .


Date:          03/01/2023                                                               /s/ Merrick J. Wayne
                                                                                         Attorney’s signature


                                                                                 Merrick J. Wayne, Bar No. IL0058
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